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    UNITED STATES DISTRICT COURT                   filed two Federal Rule of Civil Procedure
    SOUTHERN DISTRICT OF GEORGIA                   60(b) motions, one of which this Court
        STATESBORO DIVISION                        construed as a second or successive petition,
                                                   both of which were denied by this Court and
BOB AARON MIKELL,                                  the Eleventh Circuit. See ECF Nos. 45; 47;
Petitioner,                                        53;62.
                                                       Earlier this year, Mike!l moved the
V   .                  6:09-cv-65                  Eleventh Circuit for leave to file a second or
                                                   successive habeas petition based on the same
UNITED STATES OF AMERICA,
                                                   substantive grounds he asserts today before
Respondent.                                        this Court. Compare ECF No. 70 at 2, with
                                                   ECF No. 75. The circuit court denied
                   ORDER                           Mikel!'s motion, holding that "Frye' and
                                                   Lafler2 are not new rules of constitutional law
I. INTRODUCTION
                                                   sufficient to support a second or successive §
    Before the Court is Petitioner Bob Aaron       2255 motion." ECF No. 70 at 2. Most
Mikell's ("Mike!!") Motion for                     recently, Mikell filed a "Motion for Non-
Reconsideration of his "motion for a non-          Successive § 2255 Motion" in this Court
successive § 2555 motion." ECF Nos. 75; 72.        asserting the same Lafler and Frye argument
Mike!l argues that (1) this Court failed to give   rejected by the Eleventh Circuit. ECF No. 72.
Mike!l notice of its recharacterization of his     He now asks for reconsideration of denial of
motion as a second or successive habeas            that motion.
petition as required by Castro v. United
States, 540 U.S. 375 (2003); and (2) his           III. ANALYSIS
motion was in fact a first habeas petition             This Order first addresses Mikell's
because the Supreme Court first recognized         argument that he should have been given
the right he asserted within the last year and     notice that his previous motion would be
after the filing of his first petition. See ECF    recharacterized as a second or successive
No. 75; Stewart v. United States, 646 F.3d         petition. It then addresses Mikell's contention
856 (11th Cir. 2011) (finding second habeas        that his motion should be considered a first
petition non-successive for purposes of 28         petition.
U.S.C. § 2255(h) because predicate of petition         A. Notice of Recharacterization
arose after filing of first). For the following
reasons, both of Mikell's arguments fail and           Castro requires that a district court give a
his motion for reconsideration is DENIED.          pro se litigant notice "that it intends to
                                                   recharacterize" a filing. 540 U.S. at 383. But
II. BACKGROUND                                     that notice requirement only applies "when a
    Mikell filed his first § 2255 motion on        court recharacterizes a pro se litigant's
September 8, 2009. ECF No. 1. This Court
ultimately denied the motion on substantive
grounds. ECF No. 43. Since then, Mikell has        ' Missouri v. Frye, 132 S. Ct. 1399 (2012).
                                                   2
                                                     Lafier v. Cooper, 132 S. Ct. 1376 (2012).
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motion as a first § 2255 motion."             Id        unavailable claims that could not reasonably
(emphasis added).                                       be categorized as 'successive." Stewart, 646
                                                        F.3dat 861.
   Quite simply, Castro does not apply here.
This Court has never recharacterized a motion               Mikell's petition neither falls into that
by Mikell as a first habeas petition. See Id.           small subset nor clears § 2255(h)'s hurdle.
Mikell filed his first habeas petition in 2009.         Unlike the purported defect in Stewart, which
See ECF No. 1. Motions since                            arose after the conclusion of the first habeas
recharacterized could not have been "firsts,"           petition there, Mikell's alleged defect----
and Castro therefore did not require this               ineffective assistance of counsel that
Court to give Mikell notice when it                     purportedly vitiates a state conviction used to
recharacterized his "motion for a non-                  enhance his federal sentence—existed "at the
successive § 2255 motion" as a second or                time of the prior petition" and is thus subject
successive petition.                                    to the strictures of § 2255(h). Id. (quoting
                                                        Leal Garcia v. Quarterman, 573 F.3d 214,
    B. Mikell's First Petition Argument
                                                        222 (5th Cir. 2009)).
    Mikell claims that, but for a typo, his
                                                            Section 2255(h)(2)4 requires second or
previous motion should have read "motion for
                                                        successive petitions be certified as containing
a non-successive § 2255(f) motion." ECF No.
                                                        "a new rule of constitutional law, made
75 at 2, 4. Because of that typo, he claims the
                                                        retroactive to cases on collateral review by the
Court incorrectly considered his "non-
                                                        Supreme Court, that was previously
successive motion" under § 2255(h), the
                                                        unavailable." Mikell's petition relies on the
provision governing second or successive
                                                        alleged new rules the Supreme Court set forth
petitions. Id. Mikell argues that under 28
                                                        in Lafler and Frye. See ECF Nos. 75; 72.
U.S.C. § 2255(f) his petition should be
                                                        But as the Eleventh Circuit noted when it
considered a first petition because the
                                                        denied Mikell's first application for a second
Supreme Court decided Lafler and Frye, and
                                                        or successive habeas petition, "Frye and
Mikell filed his petition, within § 2255(f)'s
                                                        Lafler are not new rules of constitutional law
one year limit. Id.
                                                        sufficient to support a second or successive §
    Mikell mistakes the function of § 2255(f).          2255 motion." ECF No. 70 at 2 (citing In re
Section 2255(f) sets forth a one year statute of        Perez, 682 F.3d 920, 932-33 (11th Cir.
limitations for motions attacking a federal             2012)).
sentence. The one year period runs from the
latest of four dates, including "the date on            IV. CONCLUSION
which the right asserted was initially
recognized by the Supreme Court, if that right
has been newly recognized by the Supreme                  Quite notably, Mikell alleges the invalidity of his
Court and made retroactively applicable to              state conviction, whereas in Stewart the petitioner had
cases on collateral review." 28 U.S.C. §                already obtained vacatur of his state conviction by the
                                                        time he came calling for federal habeas relief. See
2255(f)(3). But that one year limit is only             Stewart, 646 F.3d at 858.
relevant if the petition first clears the hurdle          Section 2255(h)(1) covers second petitions where the
                                                        alleged defect involves newly discovered evidence.
of § 2255(h), or falls into that "small subset of       Mikell's petition does not involve such evidence.
                                                    2
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    The Court did not need to give Mike!]
notice of its recharacterization of his previous
petition. Nor was that petition a first petition
under any subsection of 28 U.S.C. § 2255,
much less § 2255(f).
   The Court therefore DENIES Mikell's
motion for reconsideration.


This     day fD cember?012.


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B!AVANT EDENFIELD, JUDQ
UNITED STATES DISTRICT OURT
SOUTHERN DISTRICT OF GEORGIA




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